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                            EXHIBIT 4
Data statistics Number of
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Records passed         68




                                                                                                            CONTINENTAL 000054
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Cost Ctr     Pernr. Last name      First name A/AType Text                       Start Date End Date       Start Time End Time      Hrs Points Deduction

           60009023   Washington   Gary              Abs Point Balance as of     05/31/2018   05/31/2018                                          0.00000
80660      60009023   Washington   Gary      1100    P:PTO-Paid Time Off         06/08/2018   06/08/2018   19:00:00   07:00:00 12.00              0.00000
80660      60009023   Washington   Gary      2117    U:CCU-Company Convenien.    06/11/2018   06/11/2018   18:45:00   19:00:00 0.25               0.00000
80660      60009023   Washington   Gary      1100    P:PTO-Paid Time Off         06/17/2018   06/17/2018   07:00:00   19:00:00 12.00              0.00000
80660      60009023   Washington   Gary      1100    P:PTO-Paid Time Off         06/19/2018   06/19/2018   19:00:00   07:00:00 12.00              0.00000
80660      60009023   Washington   Gary      1100    P:PTO-Paid Time Off         06/25/2018   06/25/2018   17:00:00   19:00:00 2.00               0.00000
80660      60009023   Washington   Gary      1100    P:PTO-Paid Time Off         06/26/2018   06/26/2018   17:00:00   19:00:00 2.00               0.00000
80660      60009023   Washington   Gary      1100    P:PTO-Paid Time Off         06/27/2018   06/27/2018   17:00:00   19:00:00 2.00               0.00000
80660      60009023   Washington   Gary      1100    P:PTO-Paid Time Off         06/28/2018   06/28/2018   17:00:00   19:00:00 2.00               0.00000
           60009023   Washington   Gary              Abs Point Balance as of     06/30/2018   06/30/2018                                          0.00000
80660      60009023   Washington   Gary      1119    P:FLP-Floater/Per Holiday   07/24/2018   07/24/2018   07:00:00   19:00:00 12.00              0.00000
           60009023   Washington   Gary              Abs Point Balance as of     07/31/2018   07/31/2018                                          0.00000
80660      60009023   Washington   Gary      1100    P:PTO-Paid Time Off         08/10/2018   08/10/2018   07:00:00   19:00:00 12.00              0.00000
80660      60009023   Washington   Gary      1100    P:PTO-Paid Time Off         08/11/2018   08/11/2018   07:00:00   19:00:00 12.00              0.00000
80660      60009023   Washington   Gary      1100    P:PTO-Paid Time Off         08/12/2018   08/12/2018   07:00:00   19:00:00 12.00              0.00000
           60009023   Washington   Gary              Abs Point Balance as of     08/31/2018   08/31/2018                                          0.00000
80660      60009023   Washington   Gary      2106    U:UML-FMLA Unpaid           09/01/2018   09/01/2018                      12.25               0.00000
80660      60009023   Washington   Gary      2106    U:UML-FMLA Unpaid           09/07/2018   09/07/2018                      12.25               0.00000
80660      60009023   Washington   Gary      2120    U:CNU-Call No Show          09/08/2018   09/08/2018                      12.25       1.00    0.00000
80660      60009023   Washington   Gary      2120    U:CNU-Call No Show          09/09/2018   09/09/2018                      12.25               0.00000
80660      60009023   Washington   Gary      2104    U:EXU-Excused Unpaid        09/12/2018   09/12/2018                      12.25               0.00000
80660      60009023   Washington   Gary      2104    U:EXU-Excused Unpaid        09/13/2018   09/13/2018                      12.25               0.00000
80660      60009023   Washington   Gary      2104    U:EXU-Excused Unpaid        09/17/2018   09/17/2018   09:43:00   19:00:00 9.28               0.00000
           60009023   Washington   Gary              Abs Point Balance as of     09/30/2018   09/30/2018                                  1.00    0.00000
           60009023   Washington   Gary              Abs Point Balance as of     10/31/2018   10/31/2018                                  1.00    0.00000
80660      60009023   Washington   Gary      1119    P:FLP-Floater/Per Holiday   11/15/2018   11/15/2018   11:00:00   19:00:00   8.00             0.00000
           60009023   Washington   Gary              Abs Point Balance as of     11/30/2018   11/30/2018                                  1.00    0.00000
80660      60009023   Washington   Gary      2106    U:UML-FMLA Unpaid           12/01/2018   12/01/2018                         12.25            0.00000
           60009023   Washington   Gary              Absence Points              12/09/2018   12/09/2018                                  1.00-   0.00000
80660      60009023   Washington   Gary      2120    U:CNU-Call No Show          12/11/2018   12/11/2018                         12.25    1.00    0.00000
           60009023   Washington   Gary              Abs Point Balance as of     12/31/2018   12/31/2018                                  1.00    0.00000
80660      60009023   Washington   Gary      1311    P:FLP-Family Leave -PTO     01/02/2019   01/02/2019   19:00:00   07:00:00 12.00              0.00000
80660      60009023   Washington   Gary      1119    P:FLP-Floater/Per Holiday   01/09/2019   01/09/2019   13:00:00   19:00:00 6.00               0.00000
80660      60009023   Washington   Gary      1119    P:FLP-Floater/Per Holiday   01/10/2019   01/10/2019   13:00:00   19:00:00 6.00               0.00000
80660      60009023   Washington   Gary      2104    U:EXU-Excused Unpaid        01/29/2019   01/29/2019   18:45:00   19:00:00 0.25               0.00000
80660      60009023   Washington   Gary      1119    P:FLP-Floater/Per Holiday   01/29/2019   01/29/2019   19:00:00   07:00:00 12.00              0.00000
           60009023   Washington   Gary              Abs Point Balance as of     01/31/2019   01/31/2019                                  1.00    0.00000
80660      60009023   Washington   Gary      1119    P:FLP-Floater/Per Holiday   01/31/2019   01/31/2019   18:45:00   20:07:00 1.37               0.00000
80660      60009023   Washington   Gary      2104    U:EXU-Excused Unpaid        02/05/2019   02/05/2019   06:45:00   07:00:00 0.25               0.00000
80660      60009023   Washington   Gary      1100    P:PTO-Paid Time Off         02/05/2019   02/05/2019   07:00:00   19:00:00 12.00              0.00000
80660      60009023   Washington   Gary      2104    U:EXU-Excused Unpaid        02/07/2019   02/07/2019   17:00:00   19:00:00 2.00               0.00000
80660      60009023   Washington   Gary      2104    U:EXU-Excused Unpaid        02/23/2019   02/23/2019   06:45:00   07:00:00 0.25               0.00000
80660      60009023   Washington   Gary      1100    P:PTO-Paid Time Off         02/23/2019   02/23/2019   07:00:00   19:00:00 12.00              0.00000
80660      60009023   Washington   Gary      2104    U:EXU-Excused Unpaid        02/24/2019   02/24/2019   06:45:00   07:00:00 0.25               0.00000
80660      60009023   Washington   Gary      1100    P:PTO-Paid Time Off         02/24/2019   02/24/2019   07:00:00   19:00:00 12.00              0.00000
80660      60009023   Washington   Gary      1100    P:PTO-Paid Time Off         02/26/2019   02/26/2019   18:45:00   22:45:00 4.00               0.00000
           60009023   Washington   Gary              Abs Point Balance as of     02/28/2019   02/28/2019                                  1.00    0.00000
           60009023   Washington   Gary              Absence Points              03/12/2019   03/12/2019                                  1.00-   0.00000
80660      60009023   Washington   Gary      1100    P:PTO-Paid Time Off         03/26/2019   03/26/2019   18:45:00   22:32:00   3.78             0.00000
80660      60009023   Washington   Gary      1100    P:PTO-Paid Time Off         03/28/2019   03/28/2019   18:45:00   22:28:00   3.72             0.00000




                                                                                                                                                            CONTINENTAL 000055
Absence Reporting
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Cost Ctr     Pernr. Last name      First name A/AType Text                       Start Date End Date       Start Time End Time      Hrs Points Deduction

           60009023   Washington   Gary              Abs Point Balance as of     03/31/2019   03/31/2019                                         0.00000
80660      60009023   Washington   Gary      2120    U:CNU-Call No Show          04/02/2019   04/02/2019                         12.25    1.00   0.00000
80660      60009023   Washington   Gary      2120    U:CNU-Call No Show          04/03/2019   04/03/2019                         12.25           0.00000
80660      60009023   Washington   Gary      1100    P:PTO-Paid Time Off         04/04/2019   04/04/2019                         12.25           0.00000
80660      60009023   Washington   Gary      1331    P:FRL-Funeral/Bereavement   04/12/2019   04/14/2019                         36.75           0.00000
           60009023   Washington   Gary      1331    P:FRL-Funeral/Bereavement   04/12/2019   04/14/2019                         36.75           0.00000
           60009023   Washington   Gary      1331    P:FRL-Funeral/Bereavement   04/12/2019   04/14/2019                         36.75           0.00000
80660      60009023   Washington   Gary      2120    U:CNU-Call No Show          04/15/2019   04/15/2019                         12.25    1.00   0.00000
80660      60009023   Washington   Gary      2120    U:CNU-Call No Show          04/19/2019   04/19/2019                         12.25    1.00   0.00000
80660      60009023   Washington   Gary      2120    U:CNU-Call No Show          04/20/2019   04/20/2019                         12.25           0.00000
80660      60009023   Washington   Gary      2120    U:CNU-Call No Show          04/21/2019   04/21/2019                         12.25           0.00000
80660      60009023   Washington   Gary      2114    U:NRU-No Report Unpaid      04/23/2019   04/23/2019                         12.25    2.00   0.00000
80660      60009023   Washington   Gary      2114    U:NRU-No Report Unpaid      04/24/2019   04/24/2019                         12.25    2.00   0.00000
80660      60009023   Washington   Gary      2120    U:CNU-Call No Show          04/25/2019   04/25/2019                         12.25           0.00000
80660      60009023   Washington   Gary      2114    U:NRU-No Report Unpaid      04/29/2019   04/29/2019                         12.25    2.00   0.00000
80660      60009023   Washington   Gary      2120    U:CNU-Call No Show          04/30/2019   04/30/2019                         12.25           0.00000
           60009023   Washington   Gary              Abs Point Balance as of     04/30/2019   04/30/2019                                  9.00   0.00000
           60009023   Washington   Gary              Abs Point Balance as of     05/02/2019   05/02/2019                                  9.00   0.00000




                                                                                                                                                           CONTINENTAL 000056
